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                                  UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF OKLAHOMA

PEOPLE FOR THE ETHICAL TREATMENT OF ANIMALS,                  )
INC.,                                                         )
                                                              )
                                                              )
vs.                                           Plaintiff(s)    )             CIV-20-612-PRW
                                                                   Case No. ________________
LAUREN LOWE                                                   )
                                                              )
                                                              )
                                                              )
                                               Defendant(s)   )

                                 REQUEST FOR ADMISSION PRO HAC VICE

      I hereby request admission to the Bar of this Court PRO HAC VICE in support of which I represent that
the answers to the following questions are complete, true and correct:

1.    Full name: Asher Smith

2.    State bar membership number: 5379714

3.    Business address, telephone and fax numbers:
       PETA Foundation
       1536 16th St. NW
       Washington, DC 20036
       M: (516) 528-3109

4.    List all state and federal courts or bar associations in which you are a member “in good standing” to practice
      law:
       New York (2015)
       Southern District of New York (2019)



5.    Have you been denied admission, disbarred, suspended from practice,                      G Yes   G
                                                                                                       ✔ No

      reprimanded, denied “in good standing” status, or otherwise disciplined by any
      court, bar association, grievance committee or administrative body?

6.    Have any proceedings which could lead to any such disciplinary action been               G Yes   G
                                                                                                       ✔ No

      instituted against you in any such bodies?
        (Please attach a statement explaining any “YES” answers to questions 5 or 6.)

7.    Are you familiar with the Federal Rules of Evidence, the Federal Rules of Civil          G
                                                                                               ✔ Yes   G No
      or Criminal Procedure (as applicable to this case) and the local rules of this court?

      A check for $50 should be made payable to the U.S. District Court Clerk.
         (United States Government Attorneys are exempted from paying this fee.)

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      DATED this ________        June, 2020
                          day of _____________________________.

                                                                  /s/Asher Smith
005/rvsd 06-04                                                     Signature of Applicant
                                                                                                 EXHIBIT 1
